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         EXHIBIT 4
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                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT COLUMBIA


DISTRICT OF COLUMBIA,                           :
                                                :
                   Plaintiff,                   :
                                                :
       v.                                       :         Civil Action No. 2020 CA 002697 B
                                                :
ELEVATE CREDIT, INC.,                           :
                                                :
                   Defendant.                   :
                                                :
                                                :

                           DECLARATION OF SCOTT GREEVER

       1.      My name is Scott Greever. I am over 18 years of age and am employed as

Executive Vice President of Product for Elevate Credit, Inc. (“Elevate”). I am duly authorized to

make this Declaration on behalf of Elevate. The facts stated in this Declaration are based on my

personal knowledge as well as information contained in Elevate’s records.

       2.       Elevate offers online solutions and related support for bank-originated credit

products. Elevate provides marketing services to banks in connection with those credit products.

It also licenses to banks its website, technology platform and proprietary credit and fraud scoring

models to support the banks’ origination and servicing of credit products to consumers.

       3.       Elevate is a service provider to certain state-chartered and federally insured banks,

including FinWise Bank (“FinWise”), which is chartered in Utah, and Republic Bank & Trust

Company (“Republic”), which is chartered in Kentucky.

       4.       It provides its technology platform and marketing services in connection with the

Elastic line of credit product, originated by Republic Bank, and Rise installment loan product,

originated by FinWise Bank. Both programs were offered to residents in the District of Columbia.
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       5.        Elevate and FinWise executed a Joint Marketing Agreement and a Technology

and Support Agreement related to the FinWise Rise loan product.         Elevate and Republic also

executed a Joint Marketing Agreement and a License and Support Agreement related to the

Republic Elastic line of credit product. Elevate’s role as service provider in connection with these

credit programs is set forth in those contracts.

       6.        In its role as service provider, Elevate supports the banks’ operational and

compliance activities related to the FinWise Rise and Republic Elastic lending programs.

       7.        Elevate provides underwriting support to FinWise and Republic. FinWise and

Republic control and approve the underwriting criteria and terms and conditions related to the

FinWise Rise and Republic Elastic programs. FinWise and Republic establish the underwriting

guidelines that apply to those programs. Elevate presents to FinWise and Republic suggested

underwriting criteria in accordance with those guidelines. Upon approval by FinWise and

Republic, Elevate implements that criteria through the platform each bank licenses from Elevate

to originate their respective credit products.

       8.        Elevate also creates marketing collateral for each credit program. FinWise and

Republic establish the parameters for the marketing services Elevate is obligated to perform.

Elevate creates and presents to FinWise and Republic drafts of marketing materials in accordance

with those guidelines. The banks review, edit and approve the content and means of disseminating

all marketing collateral related to their respective programs. The review and approval process is

documented by Elevate; marketing material is not disseminated until it is approved. Elevate is

required by contract to disclose that FinWise is the lender and creditor for the FinWise Rise

program and that Republic is the lender and creditor for the Republic Elastic program.

       9.        Elevate employs a similar process for disclosures related to the FinWise Rise and

Republic Elastic loans. FinWise and Republic control and approve the content of all disclosures


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related to their respective programs. Those disclosures state that FinWise and Republic are the

lenders and creditors for FinWise Rise and Republic Elastic credit products, respectively.

       10.         FinWise and Republic each maintain a consumer compliance management

program for their credit products. Pursuant to those compliance programs, Elevate is required to:

(i) perform and submit to regular and ongoing testing by each bank; (ii) perform and submit to

regular and ongoing audits by each bank; and (iii) report any program-related issues to the banks

(among other things). FinWise and Republic each conduct regular on-site visits to Elevate. Each

bank also has a compliance team that interfaces on an ongoing basis with Elevate on a range of

compliance matters concerning Elevate’s support of the FinWise Rise and Republic Elastic

products.

       11.         Elevate provides limited support to FinWise and Republic after each bank

originates loans under their respective credit programs. While the platform FinWise and Republic

licenses from Elevate supports automated and self-servicing activities, Elevate does not participate

in live servicing support. FinWise and Republic contract directly with third parties that provide

telephone and other real-time support to FinWise Rise and Republic Elastic borrowers. The banks

and/or their other service providers process ACH file, ad hoc and customer-service initiated

payments for the FinWise Rise and Republic Elastic programs.

       12.         Elevate does not own or purchase any interest in FinWise Rise or Republic Elastic

credit products.



       I declare under penalty of perjury that the foregoing is true and correct. Executed on this

2nd day of July, 2020.


                                       _________________________________________
                                                      Scott Greever


                                                  3
